 

    

Case 2:04-cV-02353-.]P|\/|-de Document 107 Filed 08/22/05 Page 1 of 4 ‘ Page|D 106
IN THE UNITEI) sTA'rEs DISTRICT COURT Fu.ED ev W n _ 0
FoR THE wEsTERN DISTRICT oF TENNESSEE " 'c'
WESTERN DIVISIoN 95 AUG 23 H h, b 0
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VETERANS OF AMERICA, KEITH MORRJS,
CARL FLEMONS, TOM HAFFORD, and
LARRY HALE
Plaintiffs,
v. NO.
CITY OF MEMPHIS, TENNESSEE;
SHELBY COUNTY, TENNESSEE, and
HOOPS, L.P.
Defendants,
NEW MEMPHIS ARENA PUBLIC BUILDING
AUTHORITY OF MEMPHIS & SHELBY
COUNTY,
Defendant and Third-Party Plaintiff,
v.

ELLERBE BECKET, INC.,

Third-Party Defendant.

04~CV-2353 Ml/V

 

ORDER GRANTING
MOTION FOR SUBSTITUTION OF COUNSEL

 

IT APPEARS TO THE COURT that the parties hereto consent and stipulate that Fred E.
Jones, Jr. and Robert Rolwing may substitute in as counsel for the New Memphis Public Building

Authority of Memphis and Shelby County in place of current counsel ofrecord, Robert L. J. Spence,

Jr.

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with Hu|e 58 and/or 79(a) FFICP on F' 2, j 'Z )‘ 2

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IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Fred E. Jones, Jr.
and Robert Rolwing be substituted in as counsel of record for The New Memphis Public Building

Authority of Mernphis and Shelby County in place of Robert L. J. Spence, Jr.

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DATE /

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 107 in
case 2:04-CV-02353 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listcd.

EsSEE

 

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Honorable J on McCalla
US DISTRICT COURT

